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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   GEORGE GOODRITZ                                  : No.
                                                    :
                                  Plaintiff,        :
             v.                                     :
                                                    :
   1911 WALNUT STREET LLC,                          :     COMPLAINT
                                                    :
   ALLIED PARKING SERVICES, LLC                     :
                                                    :
                                  Defendants        :

                              PRELIMINARY STATEMENT

  George Goodritz (the “Plaintiff”), by and through his counsel, brings this lawsuit against

1911 Walnut Street, LLC, and Allied Parking Services, LLC seeking all available relief

under the Americans with Disabilities Act for the failure to comply with the Act’s

accessibility requirements. Plaintiff is seeking injunctive relief requiring the Defendant

to remove the accessibility barriers which exist at its parking facility. The allegations

contained herein are based on personal experience of the Plaintiff.
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                                   I. JURISDICTION

1. This action is brought pursuant to the Americans with Disabilities Act of 1990

   (“ADA”), 42 U.S.C. § 12101 et seq.

2. This civil controversy arises under the laws of the United States, and jurisdiction in

   conferred upon this District Court, pursuant to 28 U.S.C. §1331.


                                  II. VENUE

3. All actions complained of herein took place within the jurisdiction of the United States

   District Court for the Eastern District of Pennsylvania.

4. Venue is proper in this judicial District as provided by 28 U.S.C. §1391(b).

                                III. PARTIES

5. Plaintiff is a 69 year-old adult male who currently resides in the Commonwealth of

   Pennsylvania.

6. Plaintiff is a disabled individual.

7. According to the Philadelphia Board of Revision of Taxes, the property owner for the

   parcels 1904 through 1940 Sansom Street is 1911 Walnut Street LLC (“Defendant

   Walnut”).

8. Defendant Walnut is a foreign limited liability company registered with the

   Pennsylvania Department of State under entity identification number 4289025.

9. The Corporation Service Company is listed as the registered agent for Defendant

   Walnut at a business address of 600 North 2nd Street, Harrisburg, Pennsylvania 17110.
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10. Allied Parking Services, LLC, (“Defendant Allied”) is a domestic limited liability

   company registered with the Pennsylvania Department of State under entity

   identification number 551016.

11. Defendant Allied has a business address of 1305 Hollow Cove, Narberth,

   Pennsylvania 19072.

                                IV. STATEMENT OF FACTS

The Parking Facility

12. Upon information and belief Defendant Walnut owns a public parking lot located at the

   corner of 20th Street and Sansom Street in Philadelphia, Pennsylvania 19103 (the

   “Parking Facility”).

13. Upon information and belief, Defendant Allied manages the Parking Facility.

14. The Parking Facility offers parking to the general public.

15. There is an entrance/exit on South 20th Street and on Sansom Street.

16. For a fee, an individual can park a vehicle in the Parking Facility at the prevailing

   market rates.

17. The Parking Facility has more than 40 (forty) parking spaces.

18. Once inside the Parking Facility, the customer must locate an empty parking space on

   the lot to park his or her vehicle.

19. Customers are required to leave their vehicle keys with the Parking Facility’s parking

   attendants.

20. Customers can park their own vehicle. When there are few parking spaces remaining,

   a customer must temporarily park his or her vehicle in a right of way, and allow a

   parking attendant to park the vehicle.
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21. To maximize the number of vehicles that can be parked on the lot, the Parking Facility’s

   parking attendant may need to move customers’ cars and double park them within the

   lot.

22. Upon the conclusion of the customer’s use of the Parking Facility, the customer must

   pay the parking attendant.

23. The Parking Facility has 1 (one) marked handicap-accessible parking space. (See

   Exhibit A)

24. The Parking Facility has no marked van-accessible handicap parking spaces.

25. The Parking Facility has no handicap parking signs.

26. The Parking Facility has no marked accessible routes.

The Plaintiff

27. The Plaintiff is a disabled individual within the meaning of the ADA.

28. The Plaintiff has difficulty walking.

29. The Plaintiff possesses a handicap parking placard issued by the Commonwealth of

   Pennsylvania.

30. The Plaintiff’s handicap parking placard permits him to park his vehicle in spaces

   designated as being handicap-accessible.

31. The Plaintiff’s personal vehicle is a 2016 Toyota RAV 4.

32. The Plaintiff’s handicap parking placard hangs on the rear-view mirror of his vehicle.

33. The Plaintiff travels to Philadelphia frequently, and is often unable to find parking on

   the streets.

34. Plaintiff parks in a parking garage or parking lot when on-street parking is not available.

35. The Plaintiff has patronized the Parking Facility.
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36. The Plaintiff would patronize the Parking Facility in the future, but is currently deterred

   because of the lack of any handicap-accessible parking places.



                   THE AMERICANS WITH DISABILITIES ACT

37. Congress enacted the Americans with Disabilities Act (“ADA”) in 1990 with the

   purpose of providing “[a] clear and comprehensive national mandate for the elimination

   of discrimination against individuals with disabilities” and “[c]lear, strong, consistent,

   enforceable     standards    addressing     discrimination     against   individuals     with

   disabilities.” 42 U.S.C. § 12101(b).

38. The ADA provides a private right of action for injunctive relief to “any person who is

   being subject to discrimination on the basis of disability.” 42 U.S.C. § 12188(a)(1).

39. Under the ADA, a disability is defined as “(A) a physical or mental impairment that

   substantially limits one or more major life activities of such individual; (B) a record of

   such an impairment; or (C) being regarded as having such an impairment.” 42 U.S.C.

   § 12102(1).

40. Title III of the ADA provides that “[n]o individual shall be discriminated against on

   the basis of disability in the full and equal enjoyment of the goods, services, facilities,

   privileges, advantages, or accommodations of any place of public accommodation by

   any person who owns, leases (or leases to), or operates a place of public

   accommodation.” 42 U.S.C. § 12182.

41. “It shall be discriminatory to afford an individual or class of individuals, on the basis

   of a disability or disabilities of such individual or class, directly, or through contractual,

   licensing, or other arrangements with the opportunity to participate in or benefit from
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   a good, service, facility, privilege, advantage, or accommodation that is not equal to

   that afforded to other individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).

42. A “public accommodation” are private entities whose operations affect commerce. See

   42 U.S.C. § 12181(7).

43. In relevant part, Title III requires that the facilities of a public accommodation be

   “readily accessible to and usable by individuals with disabilities, except where an entity

   can demonstrate that it is structurally impracticable.” 42 U.S.C. § 12183(a)(1).

44. Discrimination under the ADA includes the failure to remove architectural barriers

   where such removal is easily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).

45. “Readily achievable” means easily accomplishable and able to be carried out without

   much difficulty or expense. 28 C.F.R. § 36.104.

46. Under Title III, places of public accommodation and commercial facilities that are

   newly constructed for occupancy beginning after January 26, 1992, must be “readily

   accessible to and usable by” individuals with disabilities. 28 C.F.R. § 36.401(a) (1).

47. “Facility” means all or any portion of buildings, structures, sites, complexes,

   equipment, rolling stock or other conveyances, roads, walks, passageways, parking

   lots, or other real or personal property, including the site where the building, property,

   structure, or equipment is located. 28 C.F.R. § 35.104.

48. Existing facilities whose construction predates January 26, 1992, must meet the lesser

   “barrier removal standard,” which requires the removal of barriers wherever it is

   “easily accomplishable and able to be done without undue burden or expense.” 28

   C.F.R. § 36.304(a).
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49. March 15, 2012 was the compliance date for using the 2010 ADA Standards for

    program accessibility and barrier removal.1

50. Under the ADA, businesses or privately owned facilities that provide goods or services

    to the public have a continuing obligation to remove accessibility barriers in existing

    parking lots when it is readily achievable to do so.

Accessible Parking under the ADA

51. The 1991 implementing rules and the 2010 revisions to the ADA set forth the following

    requirements for handicap-accessible parking spaces:2


    Total Number of Parking Spaces Provided                   Minimum Number of Required
              in Parking Facility                              Accessible Parking Spaces

                          1 to 25                                            1
                         26 to 50                                            2
                         51 to 75                                            3
                        76 to 100                                            4
                       101 to 150                                            5
                       151 to 200                                            6
                       201 to 300                                            7
                       301 to 400                                            8
                       401 to 500                                            9
                                                            2% of the total number of parking
                      501 to 1000
                                                                           spaces
                                                          20, plus 1 for each 100 parking spaces
                    More than 1001
                                                                         over 1000

52. The ADA requires that handicap-accessible parking spaces be at least 96 (ninety-six)

    inches wide. See Appendix A to Part 36- Standards for Accessible Design, 28 C.F.R.

    Part 36.3




1
  https://www.ada.gov/2010ADAstandards_index.htm
2
  https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#pgfId-1010282
3
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
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53. The width of a parking space is measured from the center of each parking line bordering

    the parking space.4 (See Exhibit B)

54. The ADA requires that there be an access isle for the handicap-accessible parking space

    that is at least 60 (sixty) inches wide. (See Exhibit B)

55. The 2010 ADA regulations state that one in every six accessible spaces must be van

    accessible.5

56. Creating designated accessible handicap spaces is just one example of a barrier

    removal. 28 C.F.R. § 36.304(b)(18).

57. The restriping/repainting of the parking space borders in relatively inexpensive, and

    should be readily achievable and easily accomplishable.6

Valet Parking

58. The 1991 Standards of the ADA and the 2010 Standards of the ADA require parking

    facilities that provide valet parking services to have an accessible passenger loading

    zone.7

59. The 2010 ADA Standards require that valet facilities to also provide accessible parking

    spaces.8

60. Valet parking facilities must have an accessible passenger loading zone that has an

    access aisle that is a minimum of 60 (sixty) inches wide and extends the full length of

    the vehicle pull-up space. (See Exhibit C)




4
  Id.
5
  Id.
6
  https://www.ada.gov/restripe.pdf
7
  https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
8
  https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
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61. The 1991 ADA Standards and the 2010 ADA Standards both require a passenger

     loading zone to have a vehicle pull-up space that is a minimum of 96 (ninety-six) inches

     wide and a minimum of 20 (twenty) feet in length.9 (See Exhibit C)

62. The passenger loading zone must be located on an accessible route to the entrance of

     the facility.10

Accessible Routes under the ADA

63. Exterior accessible routes may include parking access aisles, curb ramps, crosswalks

     at vehicular ways, walks, ramps, and lifts.11

64. This route, which must be at least three feet wide, must remain accessible and not be

     blocked.12

65. In parking facilities that do not serve a particular building, accessible parking shall be

     located on the shortest accessible route of travel to an accessible pedestrian entrance of

     the parking facility.13


Signage and the ADA

66. The ADA standards require the use of the International Symbol of Accessibility (ISA)

     to identify parking spaces which are reserved for use by individuals with disabilities.14

     (See Exhibit D)




9
  https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
10
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.6.6
11
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#3. MISCELLANEOUS
12
   Id.
13
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.3
14
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.1
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67. Handicap-accessible parking spaces must be designed as “reserved” by a showing the

     ISA.

68. The ISA must be used to identify accessible passenger loading zones.

69. Directional signage must be used at inaccessible entrances to provide directions to the

     nearest accessible route.

70. Parking space identification signs shall be 60 (sixty) inches minimum above the finish

     floor or ground surface measured to the bottom of the sign.15

                                             COUNT I –

        FAILURE TO PROVIDE THE PROPER NUMBER OF HANDICAP-
                    ACCESSIBLE PARKING SPACES

71. All preceding paragraphs are hereby incorporated by reference as if fully set forth

     herein.

72. The United States Supreme Court recognized the term “major life activities” includes

     walking. Bragdon v. Abbott, 524 U.S. 624, 638–39 (1998).

73. The Plaintiff is a disabled individual within the meaning of the ADA.

74. The major life activity that the constitutes the Plaintiff’s disability is his difficulty

     walking distances.

75. Defendants provided only 1 (one) parking space which was labeled as “handicap

     accessible” at the Parking Facility.

76. Defendants failed to provide any parking spaces that are labeled as “handicap

     accessible” by a van at the Parking Facility.




15
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
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77. Defendants failed to provide any parking spots for vans that have an accompanying 96-

   inch wide adjacent access aisle.

78. The Parking Facility’s failure to provide more than 1 (one) handicap-accessible parking

   space has created an accessibility barrier for the Plaintiff, and other similarly situated

   disabled individuals.

79. Defendant Walnut is responsible for ensuring the Parking Facility’s compliance with

   the ADA.

80. Defendant Allied is responsible for ensuring the Parking Facility’s compliance with the

   ADA.

81. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by designating at least one of the available non-handicap-accessible

   spaces as handicap-accessible space for a car.

82. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements by designating at least one of the available non-handicap-accessible

   spaces as handicap-accessible space for a van.

83. Compliance with the handicap parking space requirements at the Parking Facility is

   readily achievable.

84. The Defendants failure to comply with the ADA has denied the Plaintiff the full and

   equal enjoyment of the parking offered by the Parking Facility.

85. Plaintiff is adversely affected by the Parking Facility’s failure to comply with the ADA.

86. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.
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WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendants to comply

with the Americans with Disabilities Act, together with costs and mandatory attorneys’

fees under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendant as the Court deems just and proper.

                                        COUNT II-

             FAILURE TO COMPLY WITH THE SIGNAGE & ACCESS
                    REQUIRMENTS UNDER THE ADA


87. All of the preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

88. The Parking Facility does not have any directional signs for the nearest accessible

   route.

89. The Parking Facility does not have any marked passenger loading zones for any valet

   area.

90. The Parking Facility does not have any handicap-accessible parking signs.

91. The Parking Facility does not have any van-accessible handicap-accessible parking

   signs.

92. The Parking Facility does not have any marked accessible routes.

93. The Defendants can remedy their non-compliance by reallocating existing parking

   spaces and painting border lines which conform to the dimensional requirements of the

   ADA for handicap-accessible parking spaces and access aisles.

94. Plaintiff is adversely affected by the Parking Facility’s failure to comply with the ADA

   handicap-accessible parking requirements.
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95. The Defendants failure to comply with the ADA handicap-accessible parking

   requirements has denied the Plaintiff the full and equal enjoyment of parking offered

   by the Parking Facility.

96. The Defendants have discriminated against the Plaintiff by its failure to comply with

   the ADA handicap-accessible parking requirements.



WHEREFORE, Plaintiff, seeks to injunctive relief to require the Defendants to comply

with the Americans with Disabilities Act, together with costs and mandatory attorneys’

fees under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendant as the Court deems just and proper.



Respectfully submitted,

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Dated: May 24, 2017
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                             CERTIFICATE OF SERVICE

I, Franklin J. Rooks Jr., certify that I served Plaintiff’s Complaint via the Court’s ECF

system.



By: FJR5566

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Dated: May 24, 2017
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                          EXHIBIT A
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                                     EXHIBIT B


(Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-parking#spaces)
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                                       EXHIBIT C



Source https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-passenger-loading-
zones
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                          EXHIBIT D
